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                          UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA et al.
                                                      )
                     Plaintiff(s)                     )
                                                      )
vs.                                                   )       Case Number:     1:20-cv-03010-APM
GOOGLE LLC                                            )
                                                      )
                    Defendant(s)

                            '(&/$5$7,21 FOR PRO HAC VICE $'0,66,21
                            (to be attached to Motion for3UR+DF9LFH$GPLVVLRQ)

       IQDFFRUGDQFHZLWK/&Y5 F  DQG/&Y5 F  ,KHUHE\GHFODUHthat
the answers to the following questions are complete, true, and correct:
 Full Name: Rosa M. Morales
 State bar membership number: New York Bar #4538682
 Business address, telephone and fax numbers:
      Crowell & Moring LLP, 590 Madison Ave, NY, NY 10022; 212.223.4000; 212.223.4134
 List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:
      New York State, E.D.N.Y., S.D.N.Y., Fed. Cir.
 Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No ✔

 Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?      Yes     __ _No ✔
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

 List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years. zero
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

 Are you a member of the DC Bar? No

 Do you have a pending application for admission into USDC for the District of Columbia? No
                 Case 1:20-cv-03010-APM Document 657-1 Filed 08/23/23 Page 2 of 5


       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing orWULDORQWKHPHULWVIXUWKHUFHUWLILHVWKDWKHVKH

                                           (CHECK ALL ITEMS THAT APPLY)

           has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
              Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
              evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
              entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

           has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
              Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
              44.1(b)(2)]; OR


            has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
              by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




        I declare under penalty of perjury that the foregoing is true and correct.
          8/23/2023
             DATE                                                                    SIGNATURE OF ATTORNEY




                                                                 2
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                    EXHIBIT A
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            Appellate Division of the Supreme Court
                     of the State of New York
                   Second Judicial Department


       I, Darrell M. Joseph, Acting Clerk of the Appellate Division
of the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                    Rosa Marina Morales
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on December 12,
2007, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the Office of
Court Administration, and according to the records of this Court
is currently in good standing as an Attorney and Counselor-at-
Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Brooklyn on
                            August 22, 2023.




                                  Acting Clerk of the Court


CertID-00133746
       Case 1:20-cv-03010-APM Document 657-1 Filed 08/23/23 Page 5 of 5

                                     Appellate Division
                            Supreme Court of the State of New York
                                 Second Judicial Department
                                      45 Monroe Place
                                   Brooklyn, N.Y. 11201
                                         (718) 875-1300
 HECTOR D. LASALLE                                                        KENNETH BAND
    PRESIDING JUSTICE                                                        DEPUTY CLERKS

                                                                        MELISSA KRAKOWSKI
DARRELL M. JOSEPH
ACTING CLERK OF THE COURT                                                  WENDY STYNES
                                                                          LAUREN G. DOME
                                                                         BRIAN E. KENNEDY
                                                                             January 7, 2005
                                                                        ASSOCIATE DEPUTY CLERKS



To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


         New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


         Instructions, forms and links are available on this Court's website.




                                                   Darrell M. Joseph
                                                   Acting Clerk of the Court




Revised August 2023
